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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **        *
  JOHNSON CONTROLS FIRE                      *
  PROTECTION, LP,                            *
                                             *
                    Plaintiff,               *
                                             *   No. 20-702C
             v.                                  Filed: September 17, 2020
                                             *
  UNITED STATES,                             *
                                             *
                    Defendant.               *
     * * * * * * * * * * * * * * * * **      *


                                       ORDER

       The court is in receipt of the plaintiff’s September 17, 2020 Notice of Voluntary
Dismissal. Pursuant to Rule 41(a)(1)(A) of the Rules of the United States Court of Federal
Claims (2020), the court ORDERS that the above-captioned case be DISMISSED without
prejudice.

      IT IS SO ORDERED.

                                                    s/Marian Blank Horn
                                                    MARIAN BLANK HORN
                                                             Judge
